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          EXHIBIT 42
 HOME   MAIL     NEWS       FINANCE   SPORTS   ENTERTAINMENT   LIFE   SEARCH   SHOPPING        YAHOO PLUS       MORE...   $50K NFL Yaho
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NYC correction officer jumps from Verrazzano
Bridge, dies by suicide
          Thomas Tracy, New York Daily News
          May 13, 2022 · 2 min read




          A city correction officer died early Friday after jumping from
          the Verrazzano-Narrows Bridge — and a union linked the
          suicide to stress facing the rank and file.
                                                                                  TRENDING
          Edward Roman, 38, parked his car near the Staten Island-side
                                                                                          Monday Night Football tracker: Patriots
          of the bridge and jumped just after 6:30 a.m. Witnesses                 1.      take on Bears amid QB debate
          called 911 and NYPD divers removed him from the water.
                                                                                          NFL looking into whether game refs
                                                                                  2.      asked Bucs WR Mike Evans for
                                                                                          autograph

                                                                                          Report: Jets trading for Jaguars RB
                                                                                  3.      James Robinson after Breece Hall injury

          He died at the scene.                                                           J.C. Jackson is latest injured Charger with
                                                                                  4.      season-ending knee injury

          Benny Boscio, president of the Correction Officers’                             Sarkisian apologizes for skipping
          Benevolent Association, lamented the brutal working
                                                                                  5.      Saturday's rendition of 'The Eyes of
                                                                                          Texas'
          conditions at Rikers Island and other city jails.

          “Correction Officer Roman was well-liked and respected by
          his fellow officers. He had his whole life and career ahead of
          him,” Boscio said. “This tragedy is also a solemn reminder of
          the enormous stress correction officers face on a daily basis.
          The worsening conditions in our jails doesn’t just affect the
          inmates. Our officers go to work every day not knowing if
          they will return home the same way they left. They go to
          work every day not knowing if they will miss time with their
          loved ones because they are forced to work a double or
          triple shift.”
HOME     Rikers NEWS
       MAIL     has beenFINANCE
                          mired in chaos
                                   SPORTS for years,  with correction
                                              ENTERTAINMENT    LIFE      SEARCH   SHOPPING   YAHOO PLUS      MORE...   $50K NFL Yaho
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         officers calling in sick in droves. The staffing crisis results in
                                                                                                          Sign in           Mail
         numerous unstaffed posts and extra work for correction
         officers who actually show up. Inmates, meanwhile, lack basic
         services and medical treatment.
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         Boscio called on Mayor Adams’ new panel examining Rikers
         to focus on workplace stress. The mayor signed an executive
         order Thursday creating a commission to seek a solution to
         the staffing issues and chaotic conditions in the city jails,
         naming his top lawyer Brendan McGuire and Deputy Mayor
         for Public Safety Phil Banks to run it.

         Roman, who lived on Long Island, joined the Department of
         Correction on Dec. 22, 2011 and was assigned to the North
         Infirmary Command on Rikers.

         “Edward Roman served this city and this department
         honorably as a correction officer for 10 years,” DOC
         Commissioner Louis Molina said. “Our heartfelt condolences
         go out to his family and loved ones. We had been praying for
         his recovery, and now this tragic loss will be felt across the
         agency.”

         For individual officers, the death struck hard. “We can never
         do anything right, we’re always working and never see our
         kids,” said one correction officer. “At least in the NYPD, you
         can get fresh air and go to Starbucks.”

         The DOC opened a wellness center for civilian and uniformed
         staff in 2018, with then-Commissioner Cynthia Brann
         describing it as a “place of respite.”

         The Correction Department said it was also offering
         counseling to staff.
